

Matter of Inga-Inga v McDonald (2025 NY Slip Op 02068)





Matter of Inga-Inga v McDonald


2025 NY Slip Op 02068


Decided on April 9, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 9, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

LARA J. GENOVESI, J.P.
ROBERT J. MILLER
DEBORAH A. DOWLING
JAMES P. MCCORMACK, JJ.


2025-02561

[*1]In the Matter of Segundo Inga-Inga, petitioner,
vRobert A. McDonald, etc., et al., respondents.


N. Scott Banks, Hempstead, NY (Ryan Holt of counsel), for petitioner.
Letitia James, Attorney General, New York, NY (James B. Cooney of counsel), for respondent Robert A. McDonald.
Anne T. Donnelly, District Attorney, Mineola, NY (Rachael R. Whalen of counsel), respondent pro se.



DECISION &amp; JUDGMENT
Proceeding pursuant to CPLR article 78 in the nature of prohibition to prohibit the respondents from retrying the petitioner on count 1 of the indictment in a criminal action entitled People v Inga-Inga , pending in the Supreme Court, Nassau County, under Indictment No. 72423/23, on the ground that to do so would subject him to double jeopardy.
ADJUDGED that the petition is denied and the proceeding is dismissed on the merits, without costs or disbursements.
"Because of its extraordinary nature, prohibition is available only where there is a clear legal right, and then only when a court—in cases where judicial authority is challenged—acts or threatens to act either without jurisdiction or in excess of its authorized powers" (Matter of Holtzman v Goldman , 71 NY2d 564, 569; see Matter of Rush v Mordue , 68 NY2d 348, 352). The petitioner has failed to demonstrate a clear legal right to the relief sought.
GENOVESI, J.P., MILLER, DOWLING and MCCORMACK, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








